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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JANE DOE, et al.,
Plaintiffs,
Vv. Case No. 1:25-cv-286-RCL

PAMELA BONDL, in her official capacity as
Attorney General of the United States, et al.,

Defendants.

ORDER

On February 18, 2025, this Court entered a preliminary injunction enjoining the
enforcement of Sections 4(a) and 4(c) of Executive Order 14168 against a group of transgender
women on Eighth Amendment grounds. See Preliminary Injunction, ECF No. 44; see also Doe v.
McHenry, No. 25-cv-286-RCL, 2025 WL 388218 (D.D.C. Feb. 4, 2025) (discussing the Eighth
Amendment implications of the Executive Order and granting a temporary restraining order). On
February 21, the plaintiffs filed a Motion to extend that preliminary injunction to a group of
additional plaintiffs, see ECF No. 50, which the Court granted on February 24. See Doe v. Bondi,
No. 25-cv-286-RCL, 2025 WL 596653 (D.D.C. Feb. 24, 2025).

On March 14, 2025, the plaintiffs moved with the consent of the defendants to file a Second
Amended Complaint in this dispute. See Consent Mot. for Leave to File, ECF No. 58. The Second
Amended Complaint is substantially identical to the First Amended Complaint, except that it adds
two additional plaintiffs, Rachel Doe and Ellen Doe. The new plaintiffs are in most respects
similarly situated to the other plaintiffs in this suit, with one exception: while the other plaintiffs

were pending transfer to a male penitentiary when the Court ruled on their motions for a
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preliminary injunction, these new plaintiffs have already been transferred to male facilities. See
Second Amended Compl. ff 45, 50, ECF No. 58-2.

The plaintiffs have now moved for a preliminary injunction to enjoin enforcement of the
Executive Order against them and to have them returned to female prison facilities. Mot. for PI,
ECF No. 66.' The Motion repeats the plaintiffs’ previous arguments against the Executive Order,
but adds new factual grounds for their claims which arise from the new plaintiffs’ different
circumstances. First, the plaintiffs allege that BOP has already halted new plaintiff Rachel Doe’s
hormone therapy, unlike the earlier plaintiffs who were only threatened with discontinuation of
their therapy. Mot. for PI at 2. Second, the new plaintiffs allege that they have actually been
subjected to sexual harassment at their new facilities. Id.; see also Decl. of Ellen Doe q 8, Mot.
for TRO? Attach. 1, ECF No. 61-3; Decl. of Rachel Doe 4] 11-12, Mot. for TRO Attach. 2, ECF
No. 61-4. Third, the new plaintiffs allege that since their transfer to a male facility they have been
unable to access bras and women’s Srenneat, Mot. for PI at 2. Fourth and finally, the new
plaintiffs allege that they have been subject to strip searches by male prison officials without
female officials present. Id. at 2. In a sealed Response, the defendants contest each of these new
claims on either factual or legal grounds. ECF No. 64.

The Court need not dwell on these arguments at this time because, even supposing that the
defendant is correct that each of the plaintiffs’ new arguments is either factually or legally defunct,
the new plaintiffs are at least as strongly situated, in terms of the merits of their Eighth Amendment

claims, as the existing plaintiffs. Moreover, the fact that they have already been transferred and,

' The plaintiffs originally styled this as a motion for a temporary restraining order. See Mot. for TRO, ECF No. 61.
Then, per the Government’s suggestion and after discussion with the Court, the plaintiffs filed a motion to convert the
original TRO motion into a Motion for a Preliminary Injunction. See Mot. to Convert, ECF No. 66. The Court
therefore addresses this motion in the posture of a preliminary injunction request, rather than a TRO.

? The declarations are attached to Plaintiffs original motion for a TRO, rather than the converted PI Motion.
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allegedly, have been abused at their new facilities can only strengthen their claims of irreparable
harm. The final two prongs of the preliminary injunction dnalysis=tie balance of the equities and
the public interest in the injunction—are at least unchanged from the Court’s previous temporary
restraining order and preliminary injunction analyses, or at most have tilted further in the plaintiffs’
favor. Therefore, the Court is satisfied that preliminary injunctive relief is appropriate for the two
new plaintiffs, for the same reasons that it was appropriate for the existing ones.

The Court determines that it is appropriate in this case to enter a preliminary injunction,
rather than a temporary restraining order. The Government has communicated its view that, should
the Court decide that some form of preliminary injunctive relief is necessary, the Court should
enter a preliminary injunction rather than TRO. A preliminary injunction is the better form of
relief here because the factual circumstances underlying this dispute are unlikely to significantly
change before a TRO would expire, and because judicial economy counsels in favor of situating
the new plaintiffs similarly to their existing counterparts, rather than revisiting their specific
circumstances alone in two weeks’ time.

In accordance with the Prison Litigation Reform Act, the Court finds that this preliminary
injunction is narrowly drawn, extends no further than necessary to correct the violation of
plaintiffs’ federal rights, and is the least intrusive means necessary to correct the violation of the
plaintiffs’ federal rights. 18 U.S.C. § 3626(a)(1). Plaintiffs have shown a substantial likelihood
of success on their claims that implementation of sections 4(a) and 4(c) of the Executive Order is
or will be unlawful as to them and has caused or will cause them immediate and irreparable harm.
A preliminary injunction reversing and preventing the implementation of those sections as to these
plaintiffs is necessary to correct the violation of their rights and is the least intrusive means to do

so. Furthermore, because this preliminary injunction prevents the implementation of only those
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sections of the Executive Order for which the plaintiffs have demonstrated a likelihood of success
on the merits and immediate, irreparable harm, this order extends no further than necessary to
correct the violation.

Finally, this Court has considered any adverse impact on public safety or on the operation
of the criminal justice system caused by this relief, given substantial weight to such impacts, and
has concluded and finds that no adverse impacts on public safety or the operation of the criminal
justice system will result from reinstating and maintaining the previous status of the plaintiffs’
medical care and housing while the litigation proceeds.

Therefore, upon consideration of the plaintiffs’ Consent Motion for Leave to File, their
Motion for a Preliminary Injunction, the opposition thereto, and the entire record herein, and for
the reasons contained in this Order and in the Court’s prior Orders granting TROs and preliminary
injunctions in this dispute, it is hereby

ORDERED that the Motion for Leave to File is GRANTED; and it is further

ORDERED that the Plaintiffs’ Motion for a Preliminary Injunction is GRANTED; and it
is further

ORDERED that the defendants are enjoined and restrained from implementing sections
4(a) and 4(c) of Executive Order 14168 with regard to plaintiffs Rachel Doe and Ellen Doe,
pending further Order of this Court; and it is further

ORDERED that the Defendants shall immediately transfer plaintiffs Rachel Doe and Ellen
Doe back to women’s penitentiaries and reinstate or continue their gender dysphoria treatment,
pending further Order of this Court.

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Date: March ) 4, 2025 en, C. Zen

(2B o pm. Royce C. Lamberth
United States District Judge

